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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 MICHAEL SEEFELDT
 individually and on behalf of
 all others similarly situated,

                           Plaintiff,
                                                     Case No.: 19-188
 vs.

 ENTERTAINMENT CONSULTING
 INTERNATIONAL, LLC                                  JURY TRIAL DEMANDED
 Serve at:
     CSC-Lawyers Incorporating Service
     Company
     221 Bolivar Street
     Jefferson City, MO 65101

 OUTFIELD BREW HOUSE, LLC
 d/b/a BUDWEISER BREW HOUSE,
 Serve at:
     CSC-Lawyers Incorporating Service
     Company
     221 Bolivar Street
     Jefferson City, MO 65101

                           Defendants.

                               CLASS ACTION COMPLAINT

       Plaintiff Michael Seefeldt brings this putative class action against Entertainment

Consulting International, LLC (“ECI”) and Outfield Brew House, LLC d/b/a Budweiser Brew

House (“Brew House”) (collectively “Defendants”) for thousands of text messages sent in

violation of the Telephone Consumer Protection Act (“TCPA”).

                             PARTIES, JURISDICTION, AND VENUE

       1.      At all relevant times, Plaintiff Seefeldt has been an individual over the age of 21

and a resident of Madison County, Illinois.
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       2.      Defendant ECI is a Maryland limited-liability company with its principal place of

business at 601 E. Pratt Street, 6th Floor, Baltimore, Maryland 21202. ECI can be served through

its Missouri registered agent CSC-Lawyers Incorporating Service Company, 221 Bolivar Street,

Jefferson City, Missouri 65101.

       3.      Defendant Brew House is a Missouri limited-liability company with its principal

place of business at 601 Clark Street, Suite C, St. Louis, Missouri 63102. Brew House can be

served through its Missouri registered agent CSC-Lawyers Incorporating Service Company, 221

Bolivar Street, Jefferson City, Missouri 65101.

       4.      This Court has subject matter jurisdiction over this TCPA action pursuant to 28

U.S.C. § 1331 in that this case involves a question of Federal law.

       5.      The Court has personal jurisdiction over Defendants and venue is appropriate in

this district pursuant to 28 U.S.C. § 1391(b)(2). Defendants sent unlawful text messages to

thousands of residents of this district and a substantial portion of the material events and omissions

occurred here. Defendants have a principal place of business here and/or transact significant

amounts of business here, solicit customers here, direct telephone calls and text messages to phone

numbers with area codes specific to this district, and enter into consumer and business contracts

here. Moreover, on information and belief, plaintiff Seefeldt received unlawful text messages from

defendants while he was physically present within this district.

                                     NATURE OF THE ACTION

       6.      Defendants are part of a large group of businesses known as The Cordish

Companies, which are commonly owned, controlled, and/or operated.

       7.      The Cordish Companies, including Defendants, work together toward common

business objectives, much like a single large entity, and many even share the same directors,



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officers, employees, equipment, and/or office locations.

       8.      The Cordish Companies attempt to separate and insulate various aspects of each

business into separate entities, rather than a single entity, presumably for desired financial, tax,

legal, liability, and other perceived business advantages.

       9.      For example, Defendant Brew House is a bar and restaurant located within the

Ballpark Village entertainment district in St. Louis, Missouri. Brew House controls the day-to-

day management of the restaurant, such as interacting with the public, serving food and drinks to

customers, cleaning the tables and floors, etc.

       10.     Defendant ECI, however, is a bar and restaurant management company that

provides the corporate decision making for Defendant Brew House, Ballpark Village, as well as

multiple other Cordish-controlled entities.

       11.     Defendant ECI controls, in whole or in part, corporate decisions for Defendant

Brew House such as hiring and training, nationwide and local marketing, and creation and/or

selection of hardware, software, web services, and other third-party services to be used by Brew

House and other Cordish-controlled venues.

       12.     In approximately 2014, in order to market products and services, to increase

revenue, to expand the customer base, and to pursue other marketing objectives, Defendants ECI

and Brew House developed, acquired, licensed, and/or used custom, high-powered text-messaging

programs (“Autodialer”) that can select random, sequential, and/or stored phone numbers, dial

such numbers, and send thousands of unsolicited automated text messages to such numbers.

       13.     Defendants ECI and Brew House also designed, developed, implemented, and

supervised a comprehensive marketing scheme (“Text-Blast Scheme”) whereby ECI and Cordish-

controlled entities, including Defendant Brew House, compiled thousands of cell phone numbers



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and used the Autodialer to bombard the individuals having such cell phone numbers with special

offers, prizes, events, and happy hours via unsolicited text message.

       14.     As a result, within the last four years, Defendants ECI and Brew House intended to

cause and did cause thousands of advertising and/or telemarketing text messages to be sent to cell

phone numbers of Plaintiff and the putative class members in violation of the TCPA.

       15.     Specifically, Defendants (either directly or through a third-party telemarketer) sent

unsolicited text messages to the cell phone numbers of Plaintiff and the putative class members

promoting specials and events at the Brew House and encouraging Plaintiff and the putative class

members to visit Brew House in order to spend money.

       16.     By sending the text messages at issue, Defendants have caused Plaintiff and the

putative class members (as defined herein) actual harm.

       17.     Defendants sent such text messages despite the fact that:

               (a)    Plaintiff and the putative class members never provided prior express

                      consent in a signed writing, or otherwise, for Defendants to use an

                      autodialer (as defined by law) to send advertising or telemarketing text

                      messages;

               (b)    Plaintiff and the putative class members were registered on the national do-

                      not-call list commanding Defendants and other telemarketers not to send

                      spam text messages; and

               (c)    Defendants failed to establish written policies and procedures to ensure

                      compliance with the national and/or internal do-not-call rules and

                      regulations, and failed to train its staff in compliance with such policies and

                      procedures, prior to sending such text messages.



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        18.    Plaintiff, on his own behalf and on behalf of all others similarly situated, brings this

lawsuit seeking an injunction requiring Defendants to cease all unsolicited text messaging and for

an award of statutory damages under the TCPA to Plaintiff and members of the putative class.

                    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
                                 47 U.S.C. § 227, et seq

        19.    The TCPA prohibits making any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using any automatic telephone

dialing system to any telephone number assigned to a cellular telephone service.

        20.    A text message to a cellular telephone qualifies as a “call” under the TCPA.

        21.    An “automatic telephone dialing system” 1 means any equipment that has the

capacity to store telephone numbers to be called, or to produce telephone numbers to be called

using a random or sequential number generator, and to dial such numbers.

        22.    The statutory definition of ATDS includes a device that stores telephone numbers

to be called, regardless of whether those numbers were generated by a random or sequential

number generator.

        23.    If an ATDS is used to make a call that constitutes advertising 2 or telemarketing, 3

the caller must obtain prior express written consent before it may make such call.

        24.    Prior express written consent must be expressly stated in a writing signed by the

person providing the consent, clearly authorizing the calling party to use an ATDS, specifying the



1
        Also referred to as “ATDS” or “autodialer”.
2
        Advertising means any material advertising the commercial availability or quality of any
        property, goods, or services.
3
        Telemarketing means the initiation of a telephone call or message for the purpose of
        encouraging the purchase or rental of, or investment in, property, goods, or services.


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phone number for which consent is being provided, and consent must not be a condition of

purchasing any goods or services.

       25.    Federal law also prohibits telemarketing calls to any residential telephone

subscriber who has registered his or her telephone number on the national do-not-call registry of

that is maintained by the federal government.

       26.    Wireless subscribers who are registered on the national do-not-call list are

presumed to be “residential subscribers.”

       27.    The TCPA provides for injunctive relief and the greater of actual damages or $500

per violation, which may be trebled where a defendant’s conduct was done willfully or knowingly.

                      FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       28.    Between January 24, 2015 and January 24, 2019, Defendants and/or their agents

utilized an ATDS to send text messages to the wireless telephone numbers of Plaintiff and the

putative class members.

       29.    Specifically, the hardware and software used by Defendants and/or their agents not

only has the capacity to store telephone numbers to be called, or to produce telephone numbers to

be called using a random or sequential number generator, and to dial such numbers, it was also

specifically programmed to sequentially or randomly access stored telephone numbers and

automatically send text messages to those numbers en masse.

       30.    When attempting to collect and compile cell phone numbers from Plaintiff and the

putative class members, Defendants did not disclose their intention to use an autodialer to send

multiple, automated advertising and/or telemarketing text messages to such phone numbers.

       31.    Plaintiff and the putative class members never provided express consent, in a signed

writing or otherwise, for Defendants to send autodialed, advertising, and/or telemarketing text



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messages to their cellular telephone numbers.

        32.      The text messages sent by Defendants to Plaintiff and the putative class members

were commercial in nature with a clear commercial purpose—i.e., to drive consumer traffic to

Ballpark Village and/or Brew House.

        33.      Defendants’ text messages are advertisements and/or constitute telemarketing as

defined by the TCPA.

        34.      The text messages contain Defendants’ brand name and location, they offer and

promote specials and events Ballpark Village and/or Brew House, and they encourage Plaintiff

and the putative class members to visit Ballpark Village and/or Brew House.

        35.      On information and belief, Defendants sent such advertising and/or telemarketing

text messages without first establishing written policies or procedures to ensure compliance with

the national and/or internal do-not-call rules and regulations, and failed to train its staff in

compliance with such policies and procedures.

        36.      Defendants sent these text messages to Plaintiff and other putative class members’

cellular telephone numbers who had their telephone numbers registered with the national do-not-

call registry.

        37.      On information and belief, many of Defendants’ text messages were sent within 12

months of one or more prior text messages, and Defendants lack an adequate system for preventing

the transmission of numerous automated text messages to the same telephone number.

        38.      Defendants are aware that the above-described text messages are being sent to

consumers and businesses without their prior express consent, and to consumers and businesses

who have registered their phone numbers on the do-not-call registry, but Defendants continue to

send them anyway.



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        39.    Due to Defendants’ unsolicited text messages, Plaintiff’s and the putative class

members’ privacy was invaded, their solitude was disturbed, their phones were interfered with and

lifespans depleted, including phone batteries, LCD screens, speakers, vibration motors, and other

components.

                  FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF SEEFELDT

        40.    At all relevant times, Plaintiff Seefeldt has paid a third-party provider for cellular

telephone service and cellular data service on his personal cellular telephone, which has a “314”

area code specific to Eastern Missouri.

        41.    On multiple occasions within the last four years, Defendants and/or their agents

used an autodialer to send automated text messages to Plaintiff’s cell phone.

        42.    Upon information and belief, for most if not all text messages at issue, Plaintiff

Seefeldt was physically present in this district when Defendants and/or their agents used an

autodialer to send automated text messages to Plaintiff’s cell phone.

        43.    The text messages unlawfully sent to Seefeldt contained Defendants’ brand name

and location, they offered and promoted specials and events Ballpark Village and/or Brew House,

and they encouraged Plaintiff to visit Ballpark Village and/or Brew House.

        44.    The text messages sent by Defendants and/or their agents to Plaintiff were made

for a commercial purpose and are advertisements and/or constitute telemarketing as defined by the

TCPA.

        45.    Plaintiff never provided prior express consent, in a signed writing or otherwise, for

Defendants to send autodialed, advertising, and/or telemarketing text messages to his cell phone.

        46.    At all relevant times, Plaintiff had registered his wireless number with the national

do-not-call registry and received confirmation that his do-not-call registration was effective.



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       47.     Since the effective date of Plaintiff’s registration on the national do-not-call list in

and within the last four years, Defendants and/or their agents sent multiple advertising and/or

telemarketing text messages to Plaintiff and, upon information and belief, several were within 12

months of one another.

                                  CLASS ACTION ALLEGATIONS

       48.     Plaintiff restates and incorporates by reference all paragraphs of this Complaint.

       49.     For Count I (the “Autodial Class”), Plaintiff brings this action on behalf of himself

and on behalf of a putative class defined as:

               All persons and entities within the United States to whom
               Defendants (or a third party on Defendants’ behalf) sent a text
               message to their cellular or wireless telephone, promoting special
               pricing or events at Ballpark Village and/or Brew House, between
               January 24, 2015 and January 24, 2019.

       50.     For Count II (the “DNC Class”), Plaintiff brings this action on behalf of himself

and on behalf of a putative class defined as:

               All persons within the United States to whom, between January 24,
               2015 and January 24, 2019, Defendants (or a third party on
               Defendants’ behalf) sent more than one text message promoting
               special pricing or events at Ballpark Village and/or Brew House,
               within any twelve-month period.

       51.     Excluded from the above-defined classes are Defendants, any entity in which

Defendants have a controlling interest, Defendants’ officers, directors, and employees,

Defendants’ counsel, any persons or entities who have previously filed a TCPA lawsuit against

Defendants (either individually or on behalf of a putative class), any persons or entities who have

previously settled a TCPA claim with Defendants, the Court and Court personnel, and Plaintiff’s

counsel.

       52.     Excluded from the above-defined class are all persons and entities, if any, for whom



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Defendants possess a tangible document or other tangible form (or authentic copy thereof) stating

Defendants may use an ATDS to send advertising and/or telemarketing text messages to a specific

cell phone number bearing the hand-written signature of such person or entity.

       53.      Excluded from the above-defined class are all persons and entities, if any, for

whom Defendants possess an electronic document or other electronic form (or authentic copy

thereof) stating Defendants may use an ATDS to send advertising and/or telemarketing text

messages to a specific cell phone number bearing the electronic signature of such person or entity.

       54.     Excluded from the above-defined class are all persons and entities, if any, for whom

Defendants possess an agreement to arbitrate TCPA claims (or authentic copy thereof) bearing the

hand-written or electronic signature of such person or entity.

       55.     Numerosity – Fed. R. Civ. P. 23(a)(1). Plaintiff does not know how many

members are in the putative class but believes them to be in the tens of thousands, if not more. On

information and belief, the number of class members is so numerous that their individual joinder

is impracticable. The precise number of putative class members and their phone numbers can be

ascertained from information and records in the possession and control of Defendants or third

parties acting on Defendants’ behalf.

       56.     Existence and Predominance of Common Questions of Law and Fact – Fed. R.

Civ. P. 23(a)(2) & 23(b)(3). Common questions of law or fact exist as to all members within the

putative class and predominate over any questions solely affecting any individual member. The

predominating common legal and factual questions include the following:

               (a)     Whether Defendants and/or their agents used an automatic telephone

                       dialing system to send text messages;

               (b)     Whether Defendants’ text messages are advertisements;



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           (c)   Whether Defendants’ text messages constitute telemarketing;

           (d)   Whether Defendants obtained prior express consent in a signed writing

                 specifically authorizing Defendants to send autodialed, advertising, and/or

                 telemarketing text messages to the cellular telephone numbers of Plaintiff

                 and the class members;

           (e)   Whether Defendants’ text messages were sent willfully or knowingly;

           (f)   Whether Defendants (i) established and implemented written procedures to

                 comply with the national do-not-call rules; (ii) trained its personnel in

                 procedures established pursuant to the national do-not-call rules; (iii)

                 maintained a list of telephone numbers Defendants may not contact; (iv)

                 employed a version of the national do-not-call registry obtained from the

                 administrator of the registry no more than 31 days prior to the date any call

                 or text is made; and (v) maintained records documenting this process;

           (g)   Whether Defendants (i) established and implemented written procedures to

                 comply with the internal do-not-call rules; (ii) trained its personnel in

                 procedures established pursuant to the internal do-not-call rules; (iii)

                 maintained an internal list of telephone numbers Brew House may not

                 contact; (iv) employed a version of the internal do-not-call list containing

                 numbers updated no more than 30 days prior to the date any call is made;

                 and (v) maintained records documenting this process; and/or

           (h)   Whether, and to what extent, class members are entitled to equitable relief,

                 including declaratory relief, a preliminary injunction, and/or permanent

                 injunction.



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       57.     Typicality – Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims

of the putative classes he seeks to represent. The factual and legal bases of Defendants’ liability

to Plaintiff is the same for all putative class members: (i) Defendants’ violated the TCPA by using

an automatic telephone dialing system to send advertising and/or telemarketing text messages

without obtaining prior express written consent in a signed writing; (ii) Defendants violated the

TCPA by sending multiple advertising and/or telemarketing text messages without complying with

the requirements of 47 C.F.R. § 64.1200(d).

       58.     Adequacy of Representation – Fed. R. Civ. P. 23(a)(4). Plaintiff will fairly and

adequately protect the interests of the putative class members. Plaintiff has no interests that might

conflict with the interests of the putative class members.        Plaintiff will pursue the claims

vigorously, and Plaintiff has retained counsel competent and experienced in TCPA class actions

and complex litigation.

       59.     Superiority – Fed. R. Civ. P. 23(b)(3). A class action is superior to all other

available means for the fair and efficient adjudication of this controversy. The damages or other

financial detriment suffered by individual class members is small compared with the burden and

expense that would be entailed by individual litigation of their claims against Defendants. It would

thus be virtually impossible for class members, on an individual basis, to obtain effective redress

for the wrongs done to them. Furthermore, even if class members could afford such individualized

litigation, the court system could not. Individualized litigation would create the danger of

inconsistent or contradictory judgments arising from the same set of facts. Individualized litigation

would also increase the delay and expense to all parties and the court system from the issues raised

by this action. By contrast, the class action device provides the benefits of adjudication of these

issues in a single proceeding, economies of scale, and comprehensive supervision by a single court,



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and presents no unusual management difficulties under the circumstances here.

                               COUNT I - “AUTODIAL CLASS”
                          VIOLATIONS OF THE TCPA, 47 U.S.C. § 227

       60.     Plaintiff restates and incorporates by reference all paragraphs of this Complaint.

       61.     The TCPA prohibits making any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using any automatic telephone

dialing system to any telephone number assigned to a cellular telephone service.

       62.     A text message to a cellular telephone qualifies as a “call” under the TCPA.

       63.     An “automatic telephone dialing system” means any equipment that has the

capacity to store telephone numbers to be called, or to produce telephone numbers to be called

using a random or sequential number generator, and to dial such numbers.

       64.     The statutory definition of ATDS includes a device that stores telephone numbers

to be called, regardless of whether those numbers were generated by a random or sequential

number generator.

       65.     If an ATDS is used to make a call that constitutes advertising or telemarketing, the

caller must obtain prior express written consent.

       66.     Prior express written consent must be expressly stated in a writing signed by the

person providing the consent, clearly authorizing the calling party to use an ATDS, specifying the

phone number for which consent is being provided, and consent must not be a condition of

purchasing any goods or services.

       67.     Within the last four years, Defendants and/or their agents employed an ATDS to

send non-emergency text messages to the cellular or wireless telephones of Plaintiff and the

members of the Autodial Class.

       68.     The equipment employed has the capacity to store telephone numbers to be called,


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or to produce telephone numbers to be called using a random or sequential number generator, and

to dial such numbers.

        69.     The equipment employed has the capacity to store telephone numbers to be called,

regardless of whether those numbers were generated by a random or sequential number generator.

        70.     The text messages sent by Defendants and/or their agents to Plaintiff and the

Autodial Class members were made for a commercial purpose and are advertisements and/or

constitute telemarketing as defined by the TCPA.

        71.     The text messages contained Defendants’ brand name and location, they offered

and promoted specials and events Ballpark Village and/or Brew House, and they encouraged

Plaintiff and the Autodial Class members to visit Ballpark Village and/or Brew House.

        72.     Plaintiff and the Autodial Class members never provided express consent, in a

signed writing or otherwise, for Defendants to send autodialed, advertising, and/or telemarketing

text messages to their cellular telephone numbers.

        73.     As a result of Defendants’ conduct, Plaintiff and the Autodial Class members were

harmed and are entitled to a minimum of $500 in damages for each unlawful text message.

        74.     Plaintiff and the Autodial Class members are also entitled to an injunction against

future calls.

        75.     Defendants’ text messages were willful and knowing, in that Defendants knew they

were obtaining and storing cellular telephone numbers and employing equipment that would send

autodialed, advertising, and/or telemarketing text messages to such numbers; Defendants intended

that such equipment would in fact send automated text messages containing its brand name and

location and promoting specials and events at Ballpark Village and/or Brew House;              and

Defendants knew they had not obtained prior express consent in writing, or otherwise, from



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Plaintiff or the Autodial Class members to send such text messages.

       76.     The Court should treble the amount of statutory damages available to Plaintiff and

the Autodial Class members and award $1,500 for each text message sent in violation of the TCPA.

       WHEREFORE, Plaintiff, individually and on behalf the Autodial Class, seeks $1,500 per

violation of the TCPA; a declaration that Defendants’ telemarketing methods, acts and practices

herein violate the TCPA; and an injunction prohibiting Defendants from continuing to engage in

such unlawful methods, acts, and practices.

                                COUNT II – “DNC CLASS”
                      VIOLATIONS OF THE TCPA, 47 C.F.R. § 64.1200(d)

       77.     Plaintiff restates and incorporates by reference all paragraphs of this Complaint.

       78.     Defendants’ text messages constitute advertising and/or telemarketing in that they

contain its brand name and location, they promote specials and events at Ballpark and/or Brew

House, and/or they encourage Plaintiff and the DNC Class members to visit Ballpark Village

and/or Brew House.

       79.     Defendants sent more than one advertising and/or telemarketing text message

within any twelve-month period to Plaintiff and the DNC Class members even though Defendants

did not first institute procedures for initiating telemarketing calls or text messages that meet (or

exceed) the following minimum standards:

               •       Written policies and procedures, available upon demand, for
                       maintaining a do-not-call list;

               •       Policies and procedures for the training of personnel engaged in any
                       aspect of telemarketing, on the existence and use of the do-not-call
                       list;

               •       Policies and procedures for the recording of any request not to
                       receive calls, at the time the request is made, including the
                       subscriber’s name, if provided, and telephone number, and honoring
                       any such requests within a reasonable time from the date such
                       request is made.

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                •      Policies and procedures for employing a version of the internal do-
                       not-call list containing numbers updated no more than 30 days prior
                       to the date any call is made;

                •      Policies and procedures for providing the called party with the name
                       of the individual caller, the name of the person or entity on whose
                       behalf the call is being made, and a telephone number or address at
                       which the person or entity may be contacted; and

                •      Policies and procedures for maintaining records documenting this
                       process, for a period of not less than 5 years.

        80.     On information and belief, Defendants are not tax-exempt nonprofit organizations

and are therefore required to comply with the minimum standards set forth in 47 C.F.R.

§ 64.1200(d).

        81.     On information and belief, Defendants did not implement any of the minimum

standards required by 47 C.F.R. § 1200(d)(1)-(6).

        82.     As a result of Defendants’ conduct, Plaintiff and the DNC Class members were

harmed and are entitled to a minimum of $500 in damages for each unlawful text message.

        83.     Plaintiff and the DNC Class members are also entitled to an injunction against

future calls.

        84.     Defendants’ text messages were willful and knowing, in that Defendants knew they

were sending advertising and/or telemarketing text messages to the cellular telephone numbers of

Plaintiff and the DNC Class members without first implementing procedures and training required

by 47 C.F.R. § 64.1200(d), but Defendants chose to send such text messages anyways.

        85.     The Court should treble the amount of statutory damages available to Plaintiff and

the DNC Class members and award $1,500 for each text message sent in violation of the TCPA.

        WHEREFORE, Plaintiff, individually and on behalf the DNC Class, seeks $1,500 per

violation of the TCPA; a declaration that Defendants’ telemarketing methods, acts and practices

herein violate the TCPA; and an injunction prohibiting Defendants from continuing to engage in

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such unlawful methods, acts, and practices.

                                           JURY DEMAND

       Plaintiff demands a trial by jury of all claims that are so triable.



Dated: February 7, 2019                                Respectfully submitted,

                                                       /s/ Anthony L. DeWitt
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                                                       Bartimus Frickleton Robertson Rader, PC
                                                       109 B East High Street
                                                       Jefferson City, MO 65101
                                                       573-659-4454

                                                       Edward D. Robertson, III MO58801
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                                                       Attorneys for Plaintiff and all others
                                                       similarly situated




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